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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 ANGELICA C., et al.,                              Case No. 20‐CV‐913 (NEB/ECW)

                        Petitioners,

 v.                                                 ORDER ON RESPONDENTS’
                                                      MOTION TO DISMISS
 IMMIGRATION AND CUSTOMS
 ENFORCEMENT, PETER BERG, and
 WILLIAM BARR,

                        Respondents.



      Petitioners are U.S. Immigration and Customs Enforcement detainees who have

filed a Petition for Writ of Habeas Corpus under 28 U.S.C. § 2241, seeking release from

their present detention due to the COVID‐19 pandemic. (ECF No. 1 (“Petition”).) After

Petitioners filed a motion for injunctive relief, United States Magistrate Judge Elizabeth

Cowan Wright issued a thorough and well‐reasoned Report and Recommendation in

which she recommended denying the motion without prejudice. (ECF No. 42 (“R&R”).)

No parties objected to the R&R, and this Court accepted the R&R in June 2020. (ECF

No. 43.) Respondents now move for summary dismissal of the Petition under 28 U.S.C.

§ 2243. (ECF No. 48.)

      Section 2243 provides that a court entertaining an application for a writ of habeas

corpus “shall summarily hear and determine the facts, and dispose of the matter as law

and justice require.” 28 U.S.C. § 2243. Here, the parties agree that: (1) the Petition does
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not seek any further or different relief beyond Petitioners’ motion for injunctive relief;

(2) all but two of the original Petitioners have been removed from the United States; and

(3) the two remaining Petitioners are subject to final orders of removal while being held

at Sherburne County Jail. (ECF Nos. 49 at 1–2, 52 at 1; see ECF No. 50.) Petitioners also

acknowledge that Judge Wright thoroughly analyzed the pertinent issues presented by

the parties after extensive briefing. (ECF No. 52 at 1–2 (citing R&R).)

       Nonetheless, Petitioners maintain that they are entitled to the relief sought in the

Petition, and request that if the Court grants Respondents’ motion, that dismissal of the

Petition be without prejudice. (Id. at 2.) The Court finds that Petitioners offer no evidence

of a change in circumstances sufficient to preclude dismissal of the Petition. The Court

therefore grants Respondents’ summary motion to dismiss under § 2243, and denies and

dismisses the Petition without prejudice.

                                     CONCLUSION

       Based upon all the files, records, and proceedings in the above‐captioned matter,

IT IS HEREBY ORDERED THAT:

       1.     Respondents’ Motion to Dismiss (ECF No. 48) is GRANTED; and

       2.     Petitioners’ Petition for Writ of Habeas Corpus under 28 U.S.C. § 2241 (ECF

              No. 1) is DENIED and DISMISSED WITHOUT PREJUDICE.




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LET JUDGMENT BE ENTERED ACCORDINGLY.



Dated: October 1, 2020                   BY THE COURT:

                                         s/Nancy E. Brasel
                                         Nancy E. Brasel
                                         United States District Judge




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